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                                                                          UNITED STATES DISTRICT COURT
                                                                          EASTERN DISTRICT OF MICHIGAN
                                                                               SOUTHERN DIVISION

                                              COMERICA BANK,                                                   Case No. 2:07- cv- 15163

                                                     Plaintiff/Counter Defendant,                              Hon. Avern Cohn
                                              v.                                                               Mag. Judge Mona Majzoub

                                              HASSAN HARAJLI,

                                                     Defendant/Counter Plaintiff,

                                              and

                                              AHMED HARAJLI, MOOSE SCHEIB a/k/a
                                              MUSTAPHA M. CHEAIB, JOHN A. CONTI,
                                              HAKIM FAKHOURY, JAMES PARRELLY,
                                              FULL MOON PETRO HOLDINGS, LLC, a
MILLER, CANFIELD, PADDOCK AND STONE, P.L.C.




                                              Michigan limited liability company, and JOHN
                                              DOE 1 identified only as “Pete”, jointly and severally,

                                                     Defendants.

                                              ______________________________________________________________________/

                                              MILLER, CANFIELD, PADDOCK AND STONE                       LAW OFFICE OF CYRIL C. HALL, PC
                                              Steven A. Roach (P-39555)                                 Cyril C. Hall (P-19121)
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                                              _______________________________________________________________________/

                                                    PLAINTIFF COMERICA BANK’S ANSWER AND AFFIRMATIVE DEFENSES TO
                                                            DEFENDANT HASSAN HARAJLI’S COUNTER-COMPLAINT
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                                                        Plaintiff / Counter-Defendant Comerica Bank (“Comerica”) responds to the Counter

                                              Complaint of Defendant Hassan Harajli as follows:

                                                    ALLEGATION NO. 1:               That Defendant and Counter-Plaintiff is a resident of the

                                              City of New Boston, County of Wayne, State of Michigan.

                                                        RESPONSE: Comerica lacks knowledge or information sufficient to form a belief as to

                                              the truth of the allegations in Paragraph No. 1.



                                                        ALLEGATION NO. 2:           That Plaintiff and Counter-Defendant, Comerica Bank is a

                                              banking corporation that transacts business in the County of Wayne, State of Michigan.

                                                        RESPONSE: Comerica affirmatively states that it is a Texas banking association and
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                                              otherwise admits the allegations in Paragraph No. 2.



                                                        ALLEGATION NO. 3:           That on a date certain, Defendant and Counter-Plaintiff,

                                              among others, filed a Complaint against Plaintiff and Counter Defendant seeking substantial

                                              damages and other relief.

                                                        RESPONSE: Comerica states that Defendant and Counter-Plaintiff, among others, filed

                                              a Complaint against Comerica on January 9, 2007 in the Wayne County Circuit Court. Comerica

                                              further states that Defendant and Counter-Plaintiff’s Complaint was dismissed with prejudice on

                                              July 11, 2007 pursuant to the settlement placed on the record in open court on March 20, 2007.

                                              To the extent that the allegations in Paragraph No. 3 are inconsistent herewith, they are denied as

                                              untrue.




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                                                       ALLEGATION NO. 4:             That on January 31, 2007, Plaintiff and Counter-Defendant

                                              COMERICA BANK filed a separate Complaint in this Court seeking various forms and types of

                                              relief

                                                       RESPONSE: Comerica states that on January 31, 2007 Comerica filed in the Wayne

                                              County Circuit Court a verified complaint against Hassan Harajli, and others. To the extent that

                                              the allegations in Paragraph No. 4 are inconsistent herewith, they are denied as untrue.



                                                       ALLEGATION NO. 5:             That on March 30, 2007, Defendant and Counter-Plaintiff,

                                              individually and on behalf of companies owned and/or controlled by him, entered into a

                                              settlement agreement with Plaintiff and Counter-Defendant, COMERICA BANK, that the parties
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                                              placed on the record in open court. (See Defendant/Counter-Plaintiff’s Exhibit “A”).

                                                       RESPONSE: Comerica admits that on March 30, 2007, Hassan Harajli individually and

                                              on behalf of various companies owned and/or controlled by him entered into a settlement

                                              agreement with Comerica that the parties placed on the record in open court and in a signed term

                                              sheet. The entire transcript from the March 30, 2007 proceedings and term sheet are in the

                                              possession of all parties and are the best evidence of their contents. To the extent that any of the

                                              allegations in Paragraph No. 5 are inconsistent herewith, they are denied as untrue.


                                                       ALLEGATION NO. 6:             That said recited agreement, which was placed, on the

                                              record provided, inter-alia:

                                                       “... it involves a full resolution of both cases. The Fusion Oil versus Comerica
                                                       case will be dismissed with prejudice and without costs.

                                                       The receivership case will have a final order entered that involves the sale of the
                                                       property. So that will result in the administrative closing of that case. There will
                                                       be some additional orders because there is the power to sell, but only after notice
                                                       to Mr. Hall on behalf of his clients and a regular motion hearing and an
                                                       opportunity to come in. And obviously if Mr. Harajli or any of his companies or

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                                                      anybody he knows wants to come in and offer to pay more than what the receiver
                                                      has received as an offer, all the more power to him, that’s great. We have no
                                                      problem with that whatsoever.”

                                                      RESPONSE: Comerica neither admits nor denies the allegations in Paragraph No. 6 for

                                              the reason that transcript from the March 30, 2007 proceedings and term sheet are in the

                                              possession of all parties and are the best evidence of their contents.



                                                      ALLEGATION NO. 7:              That pursuant to said agreement Defendant and Counter-

                                              Plaintiff dismissed his lawsuit with pr[sic] and Plaintiff and Counter [sic] returned to Defendant

                                              and Counter Plaintiff, One Hundred Fifty Thousand ($150,000.00) Dollars, which was

                                              wrongfully seized and converted. Additionally, Plaintiff and Counter-Defendant’s released their
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                                              mortgage on Defendant and Counter-Plaintiff’s residence and released Defendant and Counter-

                                              Plaintiff from personal liability.

                                                      RESPONSE: Comerica admits that it discharged its mortgage on Defendant and

                                              Counter-Plaintiff’s residence and otherwise fully performed its obligations under the settlement

                                              agreement, but denies as untrue the remaining allegations in Paragraph 7.



                                                      ALLEGATION NO. 8:              That Plaintiff and Counter-Defendant breached the contract

                                              by not permitting Defendant and Counter-Plaintiff the right to make an offer and pay more than

                                              the bids accepted by the receiver. That Plaintiff and Counter-Defendant further breached the

                                              agreement by directing the court and receiver to engage in a “bid-off’ process when Defendant

                                              and Counter- Plaintiff would be denied his right to make an offer following the bids being

                                              received.

                                                      RESPONSE: Comerica denies the allegations in Paragraph No. 8 as untrue.



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                                                     ALLEGATION NO. 9:              That prior to the bid process, Plaintiff and Counter-

                                              Defendant, through his counsel via letters, moved to breach the contract. (See Exhibit “B”)

                                                     RESPONSE: Comerica denies the allegations in Paragraph 9 as untrue.



                                                     ALLEGATION NO. 10:             That as a direct result of Plaintiff and Counter-Defendant’s

                                              aforesaid breaches, Defendant and Counter-Plaintiff sustained substantial damages.

                                                     RESPONSE: Comerica denies the allegations in Paragraph No. 10 as untrue.



                                                     ALLEGATION NO. 11:             That the matter in controversy is within the jurisdiction of

                                              this Court because Defendant and Counter-Plaintiff seek damages in excess of Twenty Thousand
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                                              ($25,000.00) Dollars, exclusive of costs, interest and attorney fees.

                                                     RESPONSE: The allegations in this paragraph state legal conclusions to which no

                                              answer is required. To the extent an answer is required, Comerica denies that Harajli has been

                                              damaged in any amount or that he is entitled to any relief.

                                                                    AFFIRMATIVE AND/OR SPECIAL DEFENSES

                                                     Plaintiff/Counter Defendant Comerica Bank (“Comerica”) may rely upon the following

                                              affirmative defenses at trial if supported by the facts ascertained in discovery or through

                                              investigation. By asserting the following affirmative defenses, Comerica does not assume any

                                              burden that Defendant/Counter Plaintiff Hassan Harajli might otherwise have:

                                                     1.      Harajli’s counter complaint is barred by the doctrines of res judicata and collateral

                                              estoppel because the same claims and previously disputed facts were adjudicated and resolved by

                                              the Wayne County Circuit Court, which entered a final order in favor of Comerica on those

                                              claims and previously disputed facts (Case No. 07-702855). Harajli subsequently appealed the

                                              Circuit Court’s decision, but stipulated to an agreed upon dismissal of his appeal resulting in the

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                                              Circuit Court’s order being final and nonappealable (Michigan Court of Appeals Docket Nos.

                                              279760, 279763, 280666 and 280831 (consolidated)).

                                                     2.      Harajli’s counter complaint is an impermissible appeal of a state court order and

                                              is contrary to and barred by the Rooker-Feldman doctrine.

                                                     3.      Harajli’s counter complaint is barred by the terms of the settlement agreements.

                                                     4.      Harajli’s counter complaint is barred, in whole or in part, because Harajli has

                                              failed to state a claim upon which relief can be granted.

                                                     5.      Harajli’s counter complaint is barred, in whole or in part, because Harajli

                                              committed the first material breach of any purported contract between Comerica and Harajli.

                                                     6.      Harajli’s counter complaint is barred by the doctrine of unclean hands.
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                                                     7.      Harajli’s counter complaint is barred, in whole or in part, by Harajli’s failure to

                                              satisfy conditions precedent to Comerica’s performance.

                                                     8.      Harajli’s counter complaint is barred, in whole or in part, by his failure to mitigate

                                              its damages, if any.

                                                     9.      Harajli’s counter complaint is barred, in whole or in part, because of laches,

                                              release, waiver, failure to assert his claims within a reasonable period of time, estoppel, and

                                              consent.

                                                     10.     Harajli’s counter complaint is barred, in whole or in part, because his alleged

                                              damages are speculative.

                                                     11.     If Harajli’s damages are as alleged, which is not admitted, such damages resulted

                                              in whole or in part from Harajli’s own actions or inactions, or third-party actions, for which

                                              Comerica is not responsible.

                                                     12.     By its acts and omissions, Harajli has consented to and has waived, and is

                                              estopped from complaining about, any alleged act or omission of Comerica, which acts and

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                                              omissions Comerica denies, and Comerica is excused of any liability to Harajli for any such acts

                                              or omissions.

                                                     13.      Harajli’s counter complaint is barred, in whole or in part, because Harajli’s own

                                              conduct rendered Comerica unable to perform.

                                                     14.      Comerica reserves its right to assert additional defenses as facts are revealed

                                              through discovery and may rely upon other and further affirmative defenses at trial.

                                                                                   RELIEF REQUESTED

                                                     WHEREFORE, Comerica respectfully requests that Defendant’s Counter Complaint be

                                              dismissed with prejudice, that it be awarded its costs, attorneys fees and that the Court order any

                                              other relief which is appropriate.
MILLER, CANFIELD, PADDOCK AND STONE, P.L.C.




                                                                                     MILLER, CANFIELD, PADDOCK AND STONE, PLC
                                                                                     Steven A. Roach (P-39555)
                                                                                     Todd A. Holleman (P-57699)
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                                              Dated: February 29, 2008




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                                                                                 CERTIFICATE OF SERVICE

                                                                I hereby certify that on February 29, 2008, I electronically filed the foregoing

                                              paper with the Clerk of the Court using the ECF system which will send notification of such

                                              filing to the following:


                                                  •    Heather R. Bozimowski
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